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 8                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 9                                         AT TACOMA

10    UNITED STATES OF AMERICA,
11                  Plaintiff,
                                                               Case No. CR05-5828FDB
12           v.
                                                               ORDER DENYING MOTION FOR
13    KEVIN TUBBS, JOSEPH DIBEE,                               RECONSIDERATION
      JOSEPHINE S. OVERAKER, JUSTIN
14    SOLONDZ, and BRIANA WATERS,
15                  Defendants.
16
            Defendant Waters moves for reconsideration of the Court’s denial of her motion to disclose
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     unlawful electronic surveillance. The Court has reviewed the submissions on the motion and has
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     reviewed Waters’ motion for reconsideration. The Court is not persuaded to reconsider the denial
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     and to grant the relief requested. ACCORDINGLY,
20
            IT IS ORDERED: Defendant Waters’ Motion for Reconsideration [Dkt. # 70] is DENIED.
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            DATED this 4th day of January, 2007.



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24                                       FRANKLIN D. BURGESS
                                         UNITED STATES DISTRICT JUDGE
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26   ORDER - 1
